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                Exhibit 4
Case 2:16-cv-06576-KM-MAH Document 266-4 Filed 10/10/22 Page 2 of 12 PageID: 11837



PTO Fomi 1478    (Rev   9/2006)
OMB No. 3551-0009 (Exp 12/31/2014)


                                     Trademark/Service        Mark Application, Principal Register

                                                          TEAS Plus Application
                                                              Serial Number: 85832944
                                                              Filing Date: 01/25/2013

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)"            appears where the field is only mandatory
                                               under the facts of the particular application.




                                                   The table below presents the data as entered.

                                     Input Field                                                  Entered

                TEAS Plus                                     YES

                MARK INFORMATION
                *MARK                                         ZENÚ

                 S      ANDARD CHARACTERS                     YS
                USPTO-GENERATED IMAGE                         YE

                LITERAL ELEMENT                               ZENU

                *MARK STATEMENT                               The maik consists of standard characters, without claim to any particular font,
                                                              style, size, or color

             REGISTER                                         Pimcipal

             APPLICANT INFORMATION
                                                              HWZ Distributors, Inc
                *STREET                                       165 Keyland Court

                                                              Bohemia
                *STATE
                                                              New York
             (Required for U.S. applicants)

                *COUNTRY                                      United States
             *ZIP/POSTALCODE
                                                              11716
             (Required for U.S. applicants only)

             EMAH ADDRESS                                     Wilson.Zuluaga@mailovo.com

             AUTHORIZEDTO COMMUNICATEVIA EMAIL                Yes

             LEGAL ENTITY INFORMATION
             *TYPE                                            CORPORATION
             *
                 STATE/COUNTRY OF INCORPORATION               New York

            GOODS AND/OR SERVICES AND BASIS INFORMATION
            *INTERNATIONAL CLASS                              029

            *IDENTIFICATION                                   Bologna; Canned cooked meat; Canned fish; Chorizo; Hot dogs; Preserved
                                                              meats and sausages; Processed meat; Sausages; Tuna fish

             *FILING BASIS                                    SECTION l(a)

                                                                                                                      .       EXHIBly
Case 2:16-cv-06576-KM-MAH Document 266-4 Filed 10/10/22 Page 3 of 12 PageID: 11838



             FIRST USE ANYWHERE DATE           At least as early as 01/01/2011

             FIRST USE IN COMMERCEDATE         At least as early as 01/01/2011

             SPECIMENFILE NAME(S)

             ORIGINAL PDF FILE                 SPEO-2084511974-173026628             .       Specimen   1.pdf

             CONVERTEDPDF FILE(S)
                                               \\TICRS\EXPORTl6\lMAGEOUTl6\858\329\85832944\xmll\FTKOOO3.JPG
             (1   page)

             ORIGINAL PDF FILE                 SPEO-20845l 1974-173026628            .       Specimen   2.pdf

             CONVERTED PDFFILE(S)
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             (1   page)

             SPECIMENDESCRIPTION               images showing the mark on packaging for the goods

    ADDITIONAL STATEMENTS SECTION
    *TRANSLATION
    (if applicable)

                   SLITERATION
    (if applicable)

    *CLAIMED PRIORREGISTRATION
    (if applicable)

    *CONSENT (NAME/LIKENESS)
    (if applicable)

    *CONCURRENTUSE CLAIM
    (if applicable)

                                               ZENÚ appearing in the mark has no significance nor is it a term of art in the
                                               relevant trade or industry or as applied to the goods/services listed in the
    SIGNIFICANCEOF MARK                                                          .       .




                                               application, no geographical sigmficance, nor any meaning in a foreign
                                               language. The word(s) ZENU has no meaning in a foreign language.

    CORRESPONDENCE               INFORMATION
    *NAME                                      Wilson Zuluaga

    FIRM NAME                                  HWZ Distributors, Inc
    *STREET                                    165   Keyland Court
    *CITY                                      Bohemia
    *STATE
    (Required for U.S. applicants)             New York

        CO        NTRY                         United States
    *ZIP/POSTALCODE                            11716
    *EMAIL ADDRESS
                                               wilSon.Zuluaga@mailovo.com
    *AUTHORIZEDTO COMMUNICATEVIA EMAIL         Yes

    FEE INFORMATION

    NUMBEROF CLASSES                           1




    FEEPERCLASS                                275
    *TOTAL FEE PAID                            275

    SIGNATURE INFORMATION
    *
        SIGNATURE                              /Wilson Zuluaga/
    *
        SIGNATORY'S NAME                       Wilson Zuluaga
Case 2:16-cv-06576-KM-MAH Document 266-4 Filed 10/10/22 Page 4 of 12 PageID: 11839


    *
        SIGNATORY'S POSITION     Owner
    *
        DATE SIGNED              01/25/2013
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OMB No. 365t0009   Exc '2/3   720   4;




                                                   Trademark/Service Mark Application, Principal Register

                                                                            TEAS Plus Application

                                                                              Serial Number: 85832944
                                                                              Filing Date: 01/25/2013
To the Commissioner for Trademarks:

MARK: ZENÚ (Standard Characters,                     see    mark)
The literal element of the mark consists of ZENÚ.
The mark consists              of standard characters, without claim to any particular font, style, size, or color.

The applicant, HWZ Distributors, Inc, a corporation of New York, having an address of
     165 Keyland Court
     Bohemia, New York 11716
     United States



requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:


For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 029: Bologna; Canned cooked meat; Canned fish; Chorizo; Hot dogs; Preserved meats and sausages; Processed meat;
Sausages; Tuna fish




In International Class 029, the mark was first used by the applicant or the applicant's                 related company or licensee predecessor in interest at least
as early as 01/01/2011, and first used in commerce                    at least as early as 01/01/2011, and is now in use in such commerce.
                                                                                                                    The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed goods and/or
services, consisting of a(n) images showing the mark on packaging for the goods.


Original PDF file:
SPEO-2084511974-173026628                    .   Specimen     1.pdf
Converted PDF file(s) (1 page)
Specimen Filel
Original PDF file:
SPEO-2084511974-173026628                    .   Specimen    2.pdf
Converted PDF file(s) (1 page)
Specimen Filel



ZENÚ appearing in the mark has no significance nor is it a term of art in the relevant trade or industry or as applied to the goods/services listed in
the application, no geographical significance, nor any meaning in a foreign language. The word(s) ZENÚ has no meaning in a foreign language.



The applicant's current Correspondence                Information:
     Wilson Zuluaga
     HWZ Distributors, Inc
     165    Keyland Court
     Bohemia, New York 11716
     wilson.zuluaga@mailovo.com (authorized)

A fee payment in the amount of $275 has been submitted with the application, representing                      payment for   1   class(es).
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                                                                    Declaration

The undersigned,    being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section    1001, and that such willful false statements, and the like, may jeopardize the validity of the application or any resulting
registration, declares that he/she is properly authorized to execute this application on behalf of the applicant; he/she believes the applicant to be
the owner of the trademark/service mark sought to be registered, or, if the application is being filed under 15 U.S.C. Section 1051(b), he/she
believes applicant to be entitled to use such mark in commerce; to the best of his/her knowledge and belief no other person, firm, corporation, or
association has the right to use the mark in commerce, either in the identical form thereof or in such near resemblance thereto as to be likely,
when used on or in connection with the goods/services of such other person, to cause confusion, or to cause mistake, or to deceive; and that all
statements made of his/her own knowledge are true; and that all statements made on information and belief are believed to be true.



Signature: /Wilson Zuluaga/    Date Signed: 01/25/2013
Signatory's Name: Wilson Zuluaga
Signatory's Position: Owner




RAM Sale Number: 8493
RAM Accounting Date: 01/28/2013

Serial Number: 85832944
Internet Transmission Date: Fri Jan 25 17:50:4l EST 2013
TEAS Stamp: USPTO/FTK-XXX.XX.XXX.XX-2013012517504182
6403-85832944-490c18e2787f02370d309fc84d
8b939080-CC-8493-20l30125173026628987
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